






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00315-CV






In the Matter of K. M.







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT

NO. J-24,392, HONORABLE W. JEANNE MEURER, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



	The district court found beyond a reasonable doubt that K. M. committed criminal
trespass and adjudicated him delinquent.  The court placed him on probation in the custody of his
mother for one year.

	K. M. stipulated at trial that he intentionally and knowingly entered the premises of
Del Valle Junior High School with notice that such entry was forbidden and without the permission
of a school employee, who is the owner of the school for this purpose.  By his sole issue on appeal,
K. M. contends that the district court lacked jurisdiction over him because he should have been tried
under a more specific statute with a less severe punishment range.  Compare Tex. Educ. Code Ann.
§ 37.107 (West 1996) (trespass on school grounds, Class C misdemeanor), with Tex. Pen. Code Ann.
§ 30.05 (West 2004-05) (trespass, Class B misdemeanor).  He argues that because the lesser offense
is a Class C misdemeanor and is not within the definition of delinquent conduct, the district court
lacked jurisdiction.  See Tex. Fam. Code Ann. § 51.03(a) (West Supp. 2004-05); see also Tex.
Const. art. V, § 19 (justice court has original jurisdiction over offenses punishable by fine only).

	This Court has recently concluded in a similar juvenile case that these statutes are not
in pari materia, that the State could charge the juvenile under either statute, and that the district court
had jurisdiction over the allegation of criminal trespass against the juvenile.  See In the Matter of
J.M.R., 149 S.W.3d 289, 294-95 (Tex. App.--Austin 2004, no pet.).  This appeal is controlled by
that decision.  We affirm the judgment of the district court.



						                                                                                    

						Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Affirmed

Filed:   June 17, 2005


